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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


DONDIEGO et al                            :               CIVIL ACTION
                                          :
                                          :
                                          :
             v.                           :
                                          :
                                          :
LEHIGH COUNTY BOARD OF                    :               NO. 22‐cv‐2111
ELECTIONS et al                           :
                                      ORDER

             AND NOW, this 13th day of June 2022, in accordance with the court’s

procedure for assignment of a United States Magistrate Judge to certain District

Court Judges on a rotating basis, it is hereby,

             ORDERED the United States Magistrate Judge assigned to the above‐

captioned case is Magistrate Judge Pamela A. Carlos.


                                              FOR THE COURT:


                                              JUAN R. SÁNCHEZ
                                              Chief Judge


                                              ATTEST:


                                              _/s/George Wylesol____________
                                              GEORGE WYLESOL
                                              Clerk of Court
